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   Opinion (https://news.artnet.com/opinion)

   The 100 Works of Art That Defined the Decade, Ranked:
   Part 4
   In the final installment of this four-part series, our critic reveals his picks—number 25 through
   number 1—of the key artworks of the 2010s.
   Ben Davis (https://news.artnet.com/about/ben-davis-93), January 1, 2020




    A still from Arthur Jafa's Love is the Message, The Message is Death (2016). Courtesy of the artist and Gavin Brown's Enterprise, New York City, Rome.



   This is the fourth part of a series looking at the art of the 2010s. The first three parts are here
   (https://news.artnet.com/art-world/100-works-that-defined-the-decade-part-1-1729962), here
   (https://news.artnet.com/art-world/100-works-that-defined-the-decade-ranked-part-2-1738773), and here
   (https://news.artnet.com/art-world/the-100-works-of-art-that-defined-the-decade-ranked-part-3-1738743).

                                                       25.
                              Meow Wolf, The House of Eternal Return (2014–ongoing)




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                              A mysterious beast sighted in Meow Wolf ’s The House of Eternal Return. Image: Ben
                                                                  Davis.


   Partially funded by George R.R. Martin (who now serves as its “chief world builder
   (https://www.abqjournal.com/1323161/meow-wolf-george-r-r-martin-form-another-alliance.html?
   utm_source=newsletter&utm_medium=email&utm_campaign=most-read-stories-for-date-
   l&utm_source=Albuquerque+Journal+Newsletters&utm_campaign=f6c4480a59-
   EMAIL_CAMPAIGN_2019_06_03_09_03&utm_medium=email&utm_term=0_2dcf4c82cd-f6c4480a59-108736773)“), the
   art collective Meow Wolf’s installation environment/fun house (https://news.artnet.com/art-world/george-r-r-
   martin-backed-art-collective-556880) in Santa Fe, complete with secret passages and a labyrinthine back story,
   has quickly exploded into something that has slipped out of the category of art and into a whole other new thing.
   In the brief years since the debut of the House of Eternal Return, the “Meow Wolf Model” has quickly spread, with
   the group opening massive, multi-million-dollar environments (https://news.artnet.com/art-world/meow-wolf-
   raises-158-million-1550203) in other cities.



                                                           24.
                                      Awol Erizku, Beyoncé maternity portrait (2017)




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                              Awol Erizku’s Beyoncé pregnancy announcement photograph. Photo via Instagram.


   Erizku himself is loathe (https://www.vanityfair.com/style/2017/04/awol-erizku-trump-inspired-london-show-
   beyonce) to talk (https://www.rollingstone.com/culture/culture-features/artist-behind-beyonces-pregnancy-reveal-
   talks-about-his-next-moves-and-hers-110069/) about his flower-bedecked portrait with Beyoncé, which was posted
   to her Instagram (https://www.instagram.com/p/BP-rXUGBPJa/?hl=en) as the occasion for her to reveal that she
   and her husband had been “blessed two times” with twins. But with 11 million likes, it is one of the most viral
   individual artworks of all time, and definitely augured a new kind of symbiosis between celebrity, social media,
   and art.



                                                                23.
                                                  Banksy, Love Is In the Bin (2018)




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                          Sotheby’s employees view Love is in the Bin by Banksy. Photo by Jack Taylor/Getty Images.


   I don’t blame you if you are sick of Banksy. But, you know, the street artist’s self-destructing work of art
   (https://news.artnet.com/market/viral-shredding-performance-banksy-market-performance-art-1367125), which
   surprised everyone by shredding itself via a trick frame at the climax of a Sotheby’s sale, is just outright hilarious
   and unexpected. Nothing like it had ever happened before and nothing like it will happen again.



                                                                  22.
                                                       Wu Tsang, Wildness (2012)

               WILDNESS TRAILER - SXSW 2012
               from WILDNESS MOVIE




               02:49




   A real touchstone work (https://www.vdrome.org/wu-tsang-wildness) about artists’ search for community, queer
   solidarity, class, immigration, and a lot more, focusing on Silver Platter, an LGBT LA bar—which becomes a literal
   character in the film, with a voiceover ventriloquizing its thoughts—and the events that ensue when Tsang and a
   group of young, queer artists of color organize a performance party, the titular “Wildness,” in the space.



                                                       21.
                            Sheila Hicks, Escalade Beyond Chromatic Lands (2016–17)




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    Installation view of Sheila Hicks, Escalade Beyond Chromatic Lands (2016–17), at Biennale di Venezia, Venice, Italy, 2017. Photo by
                                             Andrea Avezzù. Cour tesy of La Biennale di Venezia.


   The climax waiting at one end of the Arsenale space during the 2017 Venice Biennale (and recreated whole at the
   Bass Museum (https://www.interiordesign.net/articles/16346-sheila-hicks-recreates-her-striking-venice-biennale-
   pavilion-at-the-bass-in-miami/)), Hicks’s great vertical accumulation of colored pom-poms made the case for the
   sheer breadth of her textile art’s ambition (https://www.wsj.com/articles/inside-textile-artist-sheila-hickss-paris-
   studio-11565871879) and ability to hold attention. “This is about massive amounts of color and how it affects its
   neighbors,” Hicks explained (https://www.youtube.com/watch?v=8yk5bxjzLGw).



                                                 20.
            Dread Scott, Slave Rebellion Reenactment (https://www.slave-revolt.com/) (2019)




   Reenactors retrace the route of one of the largest slave rebellions in U.S. histor y on November 09, 2019 in New Orleans, Louisiana.
                                                Photo by Marianna Massey/Getty Images.



   A pointed rejoinder to generations of Civil War reenactments, Dread Scott’s deeply researched mass recreation of
   the German Coast Uprising of 1811, aka “America’s largest slave revolt
   (https://ushistoryscene.com/article/german-coast-uprising/)” (with an alternate ending



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   (https://news.artnet.com/art-world/dread-scotts-epic-reenactment-rebellion-1700433)), featuring hundreds of
   volunteers, probably permanently pushed a piece of history that had been literally stamped out back into the light.



                                                                19.
                                                   Shahidul Alam, Crossfire (2010)




       The lead photo “Paddy Field” for the exhibition “Crossfire: An Installation by Shahidul Alam on Extra Judicial Killings.” Image
                                               cour tesy Shahidul Alam/Drik/Majority World.


   As a teacher and activist, Alam is a giant (https://news.artnet.com/art-world/shahidul-alam-interview-1510627),
   infamously having been detained (https://news.artnet.com/art-world/what-you-need-to-know-about-the-case-of-
   bangladeshi-photographer-shahidul-alam-1331804) in 2018 by the government in Bangladesh for comments he had
   made that ran afoul of draconian laws. It was not his first time. In 2010, his “Crossfire” series also got him in
   serious hot water, with the show shuttered by authorities (https://lens.blogs.nytimes.com/2010/03/23/behind-
   39/) at the time of its debut. The series recreates the supposed sites of so-called “crossfire killings” by the
   government’s Rapid Action Battalion, an anti-crime task force whose extrajudicial violence has been the subject of
   international scrutiny. Working with researchers, Alam made images
   (https://lens.blogs.nytimes.com/2010/03/16/showcase-137/) that serve the purpose of pointing out inconsistencies
   in official accounts (e.g. a field that appears undisturbed despite having been reported to be the site of a fierce
   struggle) but that also have a forensic clarity and eery vividness that makes them difficult to forget.



                                                         18.
                           A.K. Burns and A.L. Steiner, Community Action Center (2010)




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                                                        Poster for Community Action Center.


   A three-year labor of love in every sense of the term, the traveling Community Action Center installation was, as
   Burns explained (https://bombmagazine.org/articles/a-k-burns/), an effort “to make a space for women and trans
   bodies to watch sexual content together, as well as to counter the way porn is now consumed on the personal
   computer.” The film itself doubles as document of and for a certain community and an experiment in utilizing the
   physical spaces of art to create a temporary autonomous zone for queer connection.



                                                             17.
                                            Mark Bradford, Pickett’s Charge (2017)




       Installation view of Mark Bradford’s Pickett’s Charge at the Hirshhorn Museum and Sculpture Gardens, 2017. Photo by Cathy
                                             Car ver, cour tesy of the ar tist and Hauser & Wir th.


   Some 400 feet long in all, Bradford’s sweeping series of murals (https://news.artnet.com/exhibitions/mark-
   bradford-hirshhorn-museum-1143248) has tremendous verve. Made from cutting and tearing up images of the
   battle of Gettysburg, it packs a heck of a lot of gravitas into a turbo-charged abstraction.



                                                          16.
                                        Wael Shawky, Cabaret Crusades (2010–2015)




                        Wael Shawky, Cabaret Crusades: The Path to Cairo (2012). Cour tesy the ar tist and Sfeir-Semler
                                                         Galler y Berlin/Hamburg.


   This cycle of films captures the Crusades in all their glory, or infamy, through Arab eyes (it is based on the work
   of Lebanese historian Amin Maalouf ). The fact that the tale is told with puppets—the first episode alone features
   more than 100 antique marionettes—may sound trivializing, but the choice allows for the telling of a story huge in



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   scope, makes vivid another time in a way that shocks you out of your received images of it, and lures you in for
   something that is both really moving and really perspective-shifting.



                                                          15.
                                      Kerry James Marshall, Untitled (Gallery) (2016)




            Kerr y James Marshall, Untitled (Galler y) (2016), Carnegie Museum of Ar t. ©Kerr y James Marshall, Cour tesy the ar tist
                                                           and David Zwirner, London


   Kerry James Marshall emerged in the 2010s as a major, powerful force in contemporary painting, and his touring
   retrospective, “Mastry,” was much-loved. You could certainly pick any number of his amazing images as “best-of”
   material. This stylish five-by-four painting stands as a literal invitation for black museumgoers to claim the
   galleries. It was acquired by the Carnegie Museum (https://collection.cmoa.org/objects/d93f17fb-fca8-403f-8a2b-
   e85e5d43f35f ), amid much hype (https://www.artnews.com/art-news/news/carnegie-museum-in-pittsburgh-
   acquires-a-kerry-james-marshall-7480/), the year it was painted, and featured in “20/20,” a show it organized with
   the Studio Museum the following year (https://studiomuseum.org/article/2020-carnegie-museum-art).



                                                            14.
                                            Postcommodity, Repellent Fence (2015)




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             Postcommodity: Repellent Fence / Valla Repelente – 2015




   This two-mile-long, temporary monument composed of 26 tethered balloons bearing the “open eye” symbol
   (https://wam.umn.edu/2018/02/07/focus-on-the-collection-repellent-fence/) and bridging Douglas, Arizona and
   Agua Prieta in Sonora, Mexico is meant as an image of both trans-border connection and the persistent vitality of
   Native cultural power. For the curious, some sense of the massive effort and community-building that went into
   the piece—and which is definitely part of the piece—comes in the form of the documentary about its making
   (https://www.throughtherepellentfence.com/).



                                            13.
                     Forensic Architecture, The Murder of Halit Yozgat
   (https://www.academycologne.org/en/article/1097_tribunal_unraveling_the_nsu_complex)
                                      (2016–ongoing)




                           A counter investigation into the murder of Halit Yozgat. Cour tesy Forensic Architecture.


   Artists, designers, and architects have taken a turn in recent years from raising awareness about worrying crimes
   and political issues to employing technical skills to actually help solve them. Eyal Weizman’s Forensic Architecture
   group has found the most success with this difficult maneuver. Commissioned by an action group called
   Unraveling the NSU Complex
   (https://www.academycologne.org/en/article/1097_tribunal_unraveling_the_nsu_complex), this particular
   investigation, which involved, among other things, combing through a leak of hundreds of documents and
   constructing a 1:1-scale model of the Kassel internet cafe where a murder took place, was seen at documenta 14


https://news.artnet.com/opinion/the-100-works-of-art-that-defined-the-decade-ranked-part-4-1737885                      9/26
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   (https://news.artnet.com/exhibitions/documenta-14-kassel-forensic-nsu-trial-984701) but also was presented a
   state parliamentary inquiry and entered into the stream of real-world news
   (https://theintercept.com/2017/10/18/germany-neo-nazi-murder-trial-forensic-architecture/) as proof of a cover-up.


                                                               12.
                                                Ai Weiwei, Sunflower Seeds (2010)




                                 Ai Weiwei, Sunflower Seeds in the Tate Modern Turbine Hall. Cour tesy of Tate.


   Created before his detention by the Chinese government made him an international cause célèbre, Ai’s Turbine Hall
   commission probably marks the absolute apex of his work as an installation artist. The vast bed of individually
   crafted porcelain sunflower seeds showed off all the artist’s innate skill for public engagement, while also lending
   itself to complex thoughts about art and labor in a global world and reclaiming a sense of the individual within the
   collective.



                                                         11.
                                  John Akomfrah, The Unfinished Conversation (2012)




     John Akomfrah, The Unfinished Conversation (video still) (2012). Photo by Toni Hafkenscheid, cour tesy the ar tist; Smoking Dogs
                                                        Films; Lisson Galler y.


   The Unfinished Conversation is less poetic that other Akomfrah works such as the stunning Vertigo Sea, but it’s
   the work that seized me by my collar and told me to pay attention when it was shown as one of MoMA’s new
   acquisitions (https://www.moma.org/calendar/exhibitions/3651). A three-channel experimental documentary about
https://news.artnet.com/opinion/the-100-works-of-art-that-defined-the-decade-ranked-part-4-1737885                                      10/26
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   the life and work of Stuart Hall, the activist, theorist, and founder of “cultural studies,” it offers a personal, lived-in
   history that uses its form to give a sense of a life (https://www.youtube.com/watch?v=udlvfm93y8Y) lived
   straddling multiple worlds.



                                                          10.
                                      Marina Abramović, The Artist Is Present (2010)




                         Marina Abramović, The Ar tist is Present (2010). Cour tesy of the ar tist and Sean Kelly Galler y.


   Also known colloquially as “the staring contest,” Abramović’s marathon performance as part of her retrospective
   at the Museum of Modern Art in 2010 changed the status of performance art in the media imagination, from
   something that was essentially esoteric, difficult, and kind of the butt of a joke (à la Maude Lebowski in The Big
   Lebowski) to something that was glamorous, popular… and still often the butt of a joke, but a different kind of joke
   now.



                                             9.
     K-Hole, Youth Mode: A Report on Freedom (http://khole.net/issues/youth-mode/) (2013)




                                         A page from K-HOLE’s Youth Mode: A Repor t on Freedom (2014).




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   Founded by Greg Fong, Sean Monahan, Chris Sherron, Emily Segal, and Dena Yago, the art collective K-HOLE
   (http://khole.net/) defined a new potential mode of operation for artists—as satirical branding agency
   (https://www.fastcompany.com/3045744/thats-a-total-k-hole-thing-to-do)—which, in an astounding turn, actually
   broke out to affect the language of the culture at large (https://www.wired.co.uk/article/serpentine-89plus-
   marathon). Released at the Serpentine’s 89Plus Marathon (https://www.youtube.com/watch?v=-4WQwS2UjI8), the
   “Youth Mode” report was essentially an art parody of fashion futurology, looking at how you can carve out a sense
   of difference in an age when “be different” is the norm, hitting upon the idea of “normcore,” which went on to
   enter the popular lexicon (https://www.thecut.com/2014/02/normcore-fashion-trend.html), unironically.



                                                                  8.
                                                        Anne Imhof, Faust (2017)




            Eliza Douglas in Anne Imhof ’s Faust at the 2017 Venice Biennale. Photo cour tesy of Vincenzo Pinto/AFP/Getty Images.


   The most-talked-about event of the 2017 Venice Biennale (https://news.artnet.com/art-world/venice-german-
   pavilion-anne-imhof-faust-957185) was Imhof’s severe performance-art environment
   (https://www.youtube.com/watch?v=zNQt7ZlLuuM), which featured dogs, vacant-eyed performers, and a glass floor
   beneath which parts of the miasmic five-hour action took place. The blurring together of audience and performer,
   and of an arch, clearly fashion-derived affect with an unsettling sense of human beings malfunctioning, strikes me
   as reflecting a very contemporary purgatorial feeling.



                                                                7.
                                             Hito Steyerl, Factory of the Sun (2015)




https://news.artnet.com/opinion/the-100-works-of-art-that-defined-the-decade-ranked-part-4-1737885                                  12/26
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            Hito Steyerl, Factor y of the Sun (2015). Installation view at Fondazione Sandretto Re Rebaudengo. Photo: Eduardo Piva.


   Hard to explain, so let me allow the official explanation to do it: Factor y of the Sun “tells the surreal story of
   workers whose forced moves in a motion-capture studio are turned into artificial sunshine.” Steyerl’s experimental
   style of theoretical writing exploring the consequences of the collision of technology, art, and rapacious digital
   capitalism (collected in her 2017 book Duty-Free Art) has surged into the center of discussion in recent years. This
   funny and disorienting sci-fi narrative, which started out at the 2015 German Pavilion of the Venice Biennale and
   then took over museums in the years thereafter, was probably the best translation of her theoretical sensibility
   into lasting images.



                                                    6.
              Rugilė Barzdžiukaitė, Vaiva Grainytė, Lina Lapelytė, Sun & Sea (Marina) (2019)




https://news.artnet.com/opinion/the-100-works-of-art-that-defined-the-decade-ranked-part-4-1737885                                    13/26
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     Lina Lapelytė, Vaiva Grainytė and Rugilė Barzdžiukaitė, Sun and Sea (Marina) (2019). Per formance, Lithuanian Pavilion at the 58th
                                   Venice Biennial, May 11 – October 31, 2019. Photo by Laima Stasiulionytė.


   While an opera about climate change (https://news.artnet.com/exhibitions/lithuanian-pavilion-1543168) may sound
   like a very Portlandia idea, Sun and Sea (Marina) actually worked. Staged with performers presented lallygagging
   on a beach and singing reflectively from a future vantage point on life in a blighted world, the work—presented
   most recently in the Lithuanian Pavilion at the 2019 Venice Biennale—was art for the age of “climate grief.
   (https://www.nbcnews.com/health/mental-health/climate-grief-growing-emotional-toll-climate-change-n946751)”
   Its taking of the Biennale’s top prize (https://news.artnet.com/art-world/venice-golden-lion-1543489) probably
   marks the arrival of the subject at the very center of art.



                                                      5.
                           Trevor Paglen and Kate Crawford, ImageNet Roulette (2019)




https://news.artnet.com/opinion/the-100-works-of-art-that-defined-the-decade-ranked-part-4-1737885                                    14/26
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     Exhibition view of “Kate Crawford, Trevor Paglen: Training Humans” Osser vatorio Fondazione Prada, through Februrar y 24, 2020.
                                         Photo by Marco Cappelletti, cour tesy Fondazione Prada.


   A team-up between an artist and a computer scientist, ImageNet Roulette (https://www.excavating.ai/) was both an
   art installation and an intervention into the debates about the ethics of facial-recognition software. After it went
   viral, it actually caused a kind of modest real change, with the scientists behind the most commonly used dataset
   that governs computer vision, ImageNet, admitting (https://news.artnet.com/art-world/imagenet-roulette-trevor-
   paglen-kate-crawford-1658305) that the artwork exposed dangerous flaws in how images were categorized. Given
   how central virality has been to this decade, what I think is particularly significant about ImageNet Roulette is how
   it launched as an actual app, allowing you to upload an image of yourself
   (https://www.nytimes.com/2019/09/20/arts/design/imagenet-trevor-paglen-ai-facial-recognition.html), see how the
   computer was tagging you in often (https://twitter.com/DanAmrich/status/1173694424594833408) unnerving
   (https://www.theguardian.com/technology/2019/sep/17/imagenet-roulette-asian-racist-slur-selfie#img-2) ways
   (https://www.telegraph.co.uk/technology/2019/09/23/uncomfortable-truth-racist-ai-website-reveals-biased-
   humans/), and share the results. Social media normally can be accused of soft-pedaling digital surveillance by
   incentivizing self-exposure. In this case, the creators used these same energies to turn the tables, at least in a
   small way.



                                                             4.
                                            Ragnar Kjartansson, The Visitors (2012)




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         Ragnar Kjar tansson, The Visitors (2012). Photo: Elísabet Davids. Cour tesy of the ar tist, Luhring Augustine, and i8 Galler y.


   I wouldn’t be the first (https://www.theguardian.com/artanddesign/2019/sep/17/the-best-visual-art-of-the-21st-
   century) to put Kjartansson’s dreamy, multi-channel, hour-long video at the top of their list of faves. The Icelandic
   artist calls himself a “neo-Romantic,” and the film, set in the disheveled grandeur of the rooms of Rokeby Farms in
   New York, features multiple musicians setting up, then jamming together on separate screens, slowly coming
   together, and then breaking up. It casts a spell that is hard to describe (see a clip here
   (https://www.youtube.com/watch?v=Igof7jUIaaE&feature=emb_logo)). Seven years after I saw it at Luhring
   Augustine gallery, I can still sing the hook from The Visitors in my head.



                                                3.
       Kara Walker, A Subtlety, or the Marvelous Sugar Baby, an Homage to the unpaid and
       overworked Artisans who have refined our Sweet tastes from the cane fields to the
        Kitchens of the New World on the Occasion of the demolition of the Domino Sugar
                                       Refining Plant (2014)




                       Kara Walker ’s A Subtlety… at the Domino Sugar Factor y in 2014. Image cour tesy Creative Time.


   Scale can be a substitute for interest, and working with a symbolically charged material, a substitute for meaning.
   But Walker’s sphinx, made from some 35 tons of sugar, probably marks a high point for doing something actually
   meaningful and interesting while working at that kind of scale. It draws you in with a spectacular image in a
   spectacular site, but its idea is audacious and multifaceted enough that it has entered the culture in a lasting way.



                                                               2.
                                               Christian Marclay, The Clock (2010)




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                   Christian Marclay, The Clock at the Walker Ar t Center. Image cour tesy the ar tist and Walker Ar t Center.


   A work recognized as a classic almost as soon as it came out (shoot, I called it a “New Classic” for a series in
   Slate (https://slate.com/culture/2011/11/the-new-classics-the-most-enduring-books-shows-movies-and-ideas-
   since-2000.html) in 2011!), Marclay’s The Clock is an idea so perfect that it feels almost elemental: clips of film
   from throughout cinema history, each featuring a clock or some reference to time, but organized so that whatever
   moment the characters are experiencing onscreen lines up with the moment you are in, right in the gallery. It was
   a tremendous achievement that was rewarded with vast popularity; there are people who showed up and sat
   through all 24 hours.

   It’s worth saying why, though: The Clock takes the fragmented, atomized, atemporal way we have come to
   consume media, digs into the guts of the mechanism, and rewires it to reconnect with a sense of continuity,
   actuality, and a collective experience of the present. In that sense, it is a work with an almost healing power. And
   it is also just wonderfully, innately lovable.



                                              1.
    Arthur Jafa, Love Is the Message, the Message Is Death (2016) / The White Album (2018)




                              Ar thur Jafa, The White Album (2018) at the Venice Biennale 2019. Image: Ben Davis.




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   Arthur Jafa’s Love Is the Message, The Message Is Death seemed to compress the entire hyper-charged media
   landscape, where images of racialized ultra-violence circulate alongside affirmation and commodification of black
   culture, into one seven-minute video collage. This decade’s social media explosion made escaping traumatic
   images of violence impossible, stimulating both demands for justice and feelings of vulnerability for targeted
   communities. But processing these images into art without seeming to compromise their reality seemed equally
   impossible. Jafa’s artwork steered straight into this traumatic paradox, the video’s movement between extremes
   of horror and celebration capturing a sense of psychic crisis. Arriving at Gavin Brown’s enterprise in New York just
   at the moment of Trump’s election in 2016, it became a symbol (https://www.artnews.com/art-news/artists/icons-
   arthur-jafa-9971/) of the anger and grief of that moment. It drew lines.

   In this list, I’ve tried to have only one work by a given artist, just to keep this totally arbitrary exercise interesting.
   I gave myself an exception for Jafa, because it seems to me that Love Is the Message, the Message Is Death makes
   sense at the top for the reasons I just mentioned—but the artist himself spoke about
   (https://news.artnet.com/exhibitions/arthur-jafa-white-album-1448167) being suspicious of the over-celebration of
   his work by a white audience, which makes total sense given that it is about how the celebration of black culture
   coexists with the reality of oppression (the title of the work literally states this message). The White Album was his
   response to that problem, this time stitching a found-image portrait of white America: of vigilante violence, of
   awkward internet rants from people alternatively spouting clueless shit or struggling towards a language of anti-
   racism, of inane viral goofiness that doesn’t seem so goofy anymore in this context, asking you to sit with what it
   all means together. The same compression of highs and lows, but with the mirror turned around.

   These two works felt unexpected and difficult in the way truly new kinds of art do. Their form, collaging found and
   viral-media images with appropriated music, was radical but also a vernacular and accessible language. They felt
   both unusually direct and honest but also meticulous and careful with their material. People will still be processing
   them in the 2020s.


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